     Case 1:14-cr-00237-JMS-KMB Document 235 Filed 04/18/24 Page 1 of 4 PageID #: 1088
AO 247 (Rev. 03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                           )
                DARIAN TERRELL DOWDELL                                      )
                                                                            )    Case No: 1:14-cr-00237-JMS-KMB-02
                                                                            )    USM No: 12253-028
Date of Original Judgment:                            07/09/2015            )
Date of Previous Amended Judgment:                                          )   Kenneth Riggins (prior)
(Use Date of Last Amended Judgment if Any)                                       Defendant’s Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   ’ the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. ’ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           ’
the last judgment issued) of                   months is reduced to                                      .
                             (See Page 2 for additional parts. Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                                                  shall remain in effect.
IT IS SO ORDERED.

Order Date:                  04/18/2024
                                                                                                         Judge’s signature


Effective Date:
                     (if different from order date)                                                    Printed name and title
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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                                  )
                                                             )
                                     Plaintiff,              )
                                                             )
                              v.                             )        1:14-cr-00237-JMS-KMB
                                                             )
                                                             )
  DARIAN TERRELL DOWDELL (02),                               )
                                                             )
                                     Defendant.              )


                       ORDER DENYING MOTION TO REDUCE SENTENCE


         Defendant Darian Dowdell has filed a Motion to Reduce Sentence based at least in part on

  USSC Amendment 821.[226]. 1 Mr. Dowdell was convicted of multiple counts of robbery as well

  as one count of brandishing a firearm.[149] He received an aggregate sentence of 300 months.

  [Id.] He seeks a sentence modification on multiple grounds, including rehabilitation and perhaps

  changes to the guideline that addresses compassionate release. [226, 234]2 The Government has

  filed a Response in Opposition in which it asserts that Mr. Carruthers is ineligible for any

  Amendment 821 reduction because although Mr. Dowdell had no criminal history points, he

  used a firearm in an offense of conviction and indeed pled guilty to brandishing a firearm. [233].



         1
           The Court appointed the Indiana Federal Community Defender to represent Mr. Davis.
  [227]. Counsel was later granted leave to withdraw. [230]. Mr. Davis was afforded an opportunity
  to supplement his petition following the withdrawal, which he did.[234].
         2
           When he first filed his motion, Mr. Dowdell attached papers that referenced the 821
  amendments as well as the guideline changes related to compassionate release. This entry
  addresses only the 821 grounds. [226 at 2-3]. To the extent Mr. Dowdell is seeking to file a
  renewed motion for compassionate release, he may file an additional motion using the form
  attached to this order. The Clerk is directed to forward a copy of the Court's motion
  for compassionate release form with this order to Mr. Dowdell.
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         As a general rule a sentence of imprisonment is “final.” 18 U.S.C. § 3582(b). Thus, it “may

  not be modified by a district court except in limited circumstances.” Dillon v. United States, 560

  U.S. 817, 824 (2010). Dowdell’s motion is based on 18 U.S.C. § 3582(c)(2). The Court has

  authority to modify a previously imposed sentence pursuant to 18 U.S.C. § 3582(c)(2), if the

  defendant's guideline range has been lowered subsequent to his sentencing by an act of the United

  States Sentencing Commission. In determining whether a defendant is eligible for such relief,

  district courts are to employ a two-step analysis. See Dillon v. United States, 560 U.S. 817, 826,

  130 S. Ct. 2683, 177 L. Ed. 2d 271 (2010). At step one, the Court is to determine whether the

  defendant is eligible for resentencing and the extent of the reduction authorized. Id. at 827. In

  making this determination the Court must heed the binding instructions of the Sentencing

  Commission codified at U.S.S.G § 1B1.10. Id. at 828-29. If the defendant is eligible for a

  reduction, the Court advances to the second step. At the second step, the Court considers any

  applicable § 3553(a) factors and determines whether, in the Court's discretion, the authorized

  reduction is warranted in whole or in part under the particular circumstances of the case. Id. at

  827.

         As to the step one analysis under Dillon, the Court agrees with the United States that Mr.

  Dowdell is ineligible for resentencing. In Part B to Amendment 821, the Sentencing Commission

  added what now appears in U.S.S.G. § 4C1.1(a), providing a two-offense level reduction for many

  offenders who have zero criminal history points (subject to several exceptions). In pertinent part,

  the adjustment applies if “the defendant did not receive any criminal history points from Chapter

  Four, Part A.” U.S.S.G. § 4C1.1(a)(1). It is true that Mr. Dowdell did not receive any criminal

  history points. [134 at 10]. That is not the end of the inquiry, however.
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         In order to be eligible for a two-offense level reduction Mr. Dowdell must meet all of the

  criteria of § 4C1.1, but he does not. One criterion is that “the defendant did not possess, receive,

  purchase, transport, transfer, sell, or otherwise dispose of a firearm . . . in connection with the

  offense.” U.S.S.G. § 4C1.1(a)(7). But Dowdell possessed firearms in connection with the

  offense. [134 at ¶¶ 26, 32, 38.] In fact, he was convicted of a firearms offense under § 924(c).

  [134]. He is therefore ineligible under Amendment 821. The Court therefore does not proceed to

  step two under Dillon.

         For the foregoing reasons, Mr. Dowdell's Motion and Supplemental Motion to Reduce

  Sentence [226, 234] are DENIED.

         IT IS SO ORDERED.



          Date: 4/18/2024




  Distribution:

  Brian L. Reitz
  UNITED STATES ATTORNEY'S OFFICE (Indianapolis)
  brian.reitz@usdoj.gov

  Matthew Rinka
  UNITED STATES ATTORNEY'S OFFICE
  matthew.rinka@usdoj.gov

  Darian Dowdell
  Register Number: 12253-028
  FCI Gilmer
  Federal Correctional Institution
  P.O. Box 6000
  Glenville, WV 26351
